
PER CURIAM.
Affirmed. See Alexander v. State, 830 So.2d 899 (Fla. 2d DCA 2002). As this court did in Alexander, we certify the same question of great public importance:
ARE ALLEGATIONS OF AFFIRMATIVE MISADVICE BY TRIAL COUNSEL ABOUT THE SENTENCE ENHANCING CONSEQUENCES OF A DEFENDANT’S PLEA FOR FUTURE CRIMINAL BEHAVIOR IN AN OTHERWISE FACIALLY SUFFICIENT MOTION COGNIZABLE AS AN INEFFECTIVE ASSISTANCE OF COUNSEL CLAIM?
Affirmed; question certified.
KELLY, VILLANTI, and WALLACE, JJ., Concur.
